                          Case 6:19-bk-03380-CCJ                     Doc 5     Filed 05/23/19          Page 1 of 3

Information to identify the case:
Debtor 1              Troy Darwin Ather                                                 Social Security number or ITIN         xxx−xx−0466
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2              Tina Marie Ather                                                  Social Security number or ITIN         xxx−xx−7709
(Spouse, if filing)
                      First Name   Middle Name     Last Name                            EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Middle District of Florida
                                                                                        Date case filed for chapter 7 5/22/19
Case number:          6:19−bk−03380−CCJ


Official Form 309B (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                                                        12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Troy Darwin Ather                                   Tina Marie Ather

2.      All other names used in the                                                                  fdba Paper Loft Designs
        last 8 years

3.     Address                               1101 S. Black Acre Court                               1101 S. Black Acre Court
                                             Winter Springs, FL 32708                               Winter Springs, FL 32708

4.     Debtor's attorney                     David R McFarlin                                       Contact phone 407−843−2111
                                             Fisher Rushmer, PA
       Name and address                      390 N Orange Avenue, Suite 2200                        Email: dmcfarlin@fisherlawfirm.com
                                             Orlando, FL 32801

5.     Bankruptcy Trustee                    Arvind Mahendru                                        Contact phone (407) 504−2462
                                             5703 Red Bug Lake Road
       Name and address                      Suite 284
                                             Winter Springs, FL 32708

Notice is further given that effective on the date of the Petition, the United States Trustee appointed the above named individual as interim
trustee pursuant to 11 USC § 701.
                                                                                                               For more information, see page 2 >
Official Form 309B (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                   page 1
                           Case 6:19-bk-03380-CCJ                             Doc 5         Filed 05/23/19              Page 2 of 3
Debtor Troy Darwin Ather and Tina Marie Ather                                                                             Case number 6:19−bk−03380−CCJ

6. Bankruptcy Clerk's Office            George C. Young Federal Courthouse                                                   Hours open:
                                        400 West Washington Street                                                           Monday − Friday 8:30 AM − 4:00PM
   Documents in this case may be filed Suite 5100
   at this address. You may inspect all Orlando, FL 32801                                                                    Contact phone 407−237−8000
   records filed in this case at this office
   or online at www.pacer.gov.                                                                                               Date: May 23, 2019

7. Meeting of creditors                   June 28, 2019 at 10:00 AM                                                      Location:

  Debtors must attend the meeting to      The meeting may be continued or adjourned to a later                           George C. Young Courthouse,
  be questioned under oath. In a joint                                                                                   Suite 1203−B, 400 West
  case, both spouses must attend.         date. If so, the date will be on the court docket.
  Creditors may attend, but are not                                                                                      Washington Street, Orlando, FL
  required to do so. You are                    *** Debtor(s) must present Photo ID and acceptable proof of              32801
  reminded that Local Rule 5073−1                       Social Security Number at § 341 meeting. ***
  restricts the entry of personal
  electronic devices into the
  Courthouse.

8. Presumption of abuse                   The presumption of abuse does not arise.

  If the presumption of abuse arises,
  you may have the right to file a
  motion to dismiss the case under
  11 U.S.C. § 707(b). Debtors may
  rebut the presumption by showing
  special circumstances.

9. Deadlines                               File by the deadline to object to discharge or to                             Filing deadline: August 27, 2019
                                           challenge whether certain debts are dischargeable:
  The bankruptcy clerk's office must
  receive these documents and any                                                                                        • if you want to have a debt excepted
  required filing fee by the following     You must file a complaint:                                                    from discharge under 11 U.S.C §
  deadlines.                                                                                                             523(a)(2), (4)
                                           • if you assert that the debtor is not entitled to
                                             receive a discharge of any debts under any of the                              or (6).
                                             subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                           You must file a motion:
                                           • if you assert that the discharge should be denied
                                             under § 727(a)(8) or (9).

                                           Deadline for all creditors to file a proof of claim                           Filing deadline: 7/31/19
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                            Filing deadline: 180 days from
                                           claim:                                                                        the date of filing

                                           Deadlines for filing proof of claim:
                                           A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be filed online at
                                           the Court's website at www.flmb.uscourts.gov, or obtained at www.uscourts.gov or at any bankruptcy clerk's
                                           office. If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you
                                           must file a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                           example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                           right to a jury trial.


                                           Deadline to object to exemptions:                                             Filing deadline: 30 days after the
                                           The law permits debtors to keep certain property as exempt. If you            conclusion of the meeting of creditors
                                           believe that the law does not authorize an exemption claimed, you
                                           may file an objection.

10. Creditors with a foreign                   If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                    extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                               any questions about your rights in this case.

11. Liquidation of the debtor's                The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's property that is not
    property and payment of                    exempt. If the trustee can collect enough money, creditors may be paid some or all of the debts owed to them
                                               in the order specified by the Bankruptcy Code. To ensure you receive any share of that money, you must file a
    creditors' claims                          proof of claim as described above.

12. Exempt property                            The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                               distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at the
                                               bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                               exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                               objection by the deadline to object to exemptions in line 9.


13. Voice Case Info. System                    McVCIS provides basic case information concerning deadlines such as case opening and closing date, discharge date and
                                               whether a case has assets or not. McVCIS is accessible 24 hours a day except when routine maintenance is performed. To
    (McVCIS)                                   access McVCIS toll free call 1−866−222−8029.
                        Case 6:19-bk-03380-CCJ                     Doc 5       Filed 05/23/19            Page 3 of 3
Official Form 309B (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set   page 2
